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                                                                                  The Honorable James L. Robart
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 7                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 8                                            AT TACOMA
     NWDC RESISTANCE and COALITION OF                                No. 3:18-cv-05860-JLR
 9   ANTI-RACIST WHITES,
10                                  Plaintiffs,                      DEFENDANTS’ NOTICE OF
                                                                     WITHDRAWAL OF MOTIONS IN
11           v.                                                      LIMINE, DKT. 181,
                                                                     AND RESPONSE TO MOTION TO
12   IMMIGRATION & CUSTOMS                                           SEAL DOCUMENTS, DKT. 185
     ENFORCEMENT, et al.,
13                                  Defendants.

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15                      I.    Defendants Withdraw Their Motions in Limine, Dkt. 181

16           Defendants file this notice to withdraw their motions in limine, Dkt. 181. See LCR 7(l).1

17   Following this Court’s order granting Defendants’ summary judgment and vacating “the trial date

18   and all remaining pretrial deadlines,” Dkt. 191, Defendants understand that their motions in limine

19   are now rendered moot in any event and no ruling is anticipated.

20           However, in an abundance of caution, to conserve judicial and party resources, and to

21   make clear that there is no live issue with respect to the motions in limine, Defendants are filing

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24    Pursuant to the Local Rules, Defendants will also call chambers to notify the Court that the motions in limine have
     been withdrawn. See LCR 7(l).
     DEFENDANTS’ NOTICE OF WITHDRAWAL OF MOTIONS IN                                    UNITED STATES ATTORNEY
     LIMINE AND RESPONSE TO MOTION TO SEAL DOCUMENTS                                  700 STEWART STREET, SUITE 5220
     (3:18-cv-05860-JLR) – 1                                                            SEATTLE, WASHINGTON 98101
                                                                                              (206) 553-7970
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 1   this notice under LCR 7(l).2 Because the motions in limine are withdrawn, there should be no

 2   need for the Court to consider Plaintiffs’ opposition and associated motion to seal, Dkt. 185.3

 3   Instead, the Court may strike Defendants’ motions in limine along with Plaintiffs’ response and

 4   the declarations and motion to seal associated with the withdrawn motion, Dkts. 181-183, 185-

 5   189. See LCR 7(g) (filings may be stricken). As these filings may be stricken, Defendants

 6   understand that the Court would not need to consider the motion to seal, Dkt. 185, and no response

 7   would be needed.

 8             Defendants’ counsel contacted Plaintiffs’ counsel to try to reach agreement on this issue.

 9   Defendants understand that Plaintiffs agree that this Court need not consider any motions in

10   limine, and that Defendants’ may withdraw their motions in limine, but that Plaintiffs believe that

11   withdrawing the motions in limine does not moot the associated motion to seal the exhibits filed

12   with Plaintiffs’ opposition. But because there is no need for this Court to consider the withdrawn

13   motions in limine, there is no need for this Court to consider Plaintiffs’ opposition and associated

14   filings. This Court should strike them or issue an order declaring them moot, and Defendants

15   request that the exhibits at issue be withdrawn from the record. See LCR 5(g)(6) (indicating that

16   “the court [may] withdraw the document from the record rather than unseal it”).

17       II.   Alternatively, if Consideration of the Motion to Seal is Necessary, the Parties have
                Agreed to Redact Certain Federal Employee and Non-Party Information
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               Alternatively, in the event that this Court determines that it should consider the motion to
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     seal, the parties have reached an agreement to redact (rather than seek to seal) certain information.
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       Though it is not anticipated, if a trial ever were to become necessary in this case, Defendants respectfully reserve
     the right to reurge their motions in limine then.
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       This response is limited to Plaintiffs’ second motion to seal, concerning Exhibit F to the Declaration of Ambika
     Kumar, Dkt. 189.
     DEFENDANTS’ NOTICE OF WITHDRAWAL OF MOTIONS IN                                      UNITED STATES ATTORNEY
     LIMINE AND RESPONSE TO MOTION TO SEAL DOCUMENTS                                    700 STEWART STREET, SUITE 5220
     (3:18-cv-05860-JLR) – 2                                                              SEATTLE, WASHINGTON 98101
                                                                                                (206) 553-7970
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 1   See LCR 5(g) (parties should consider a less-restrictive alternative to sealing).4 Defendants’

 2   reasons for requesting protection of information are those set forth in the Declaration of Robert

 3   Guadian. Dkt. 179 ¶¶ 1-33. If this Court determines that it should consider Plaintiffs’ opposition

 4   to the motions in limine and associated motion to seal, Dkt. 185, Defendants agree that Plaintiffs

 5   may file Exhibit F of the Kumar Declaration with the agreed redactions.5

 6                                                 III.    Conclusion

 7           For the foregoing reasons, Defendants provide this Court with notice that they are

 8   withdrawing their motions in limine and respectfully request that this Court strike as moot

 9   Defendants’ motions in limine along with Plaintiffs’ response and the declarations and motion to

10   seal associated with the withdrawn motion, Dkts. 181-183, 185-189. Accordingly, as no ruling is

11   needed, Defendants request that the exhibits at issue be withdrawn from the record. See LCR

12   5(g)(6).

13           Alternatively, if this Court considers the motion to seal, Dkt. 185, the parties have reached

14   an agreement to redact information as set forth above, and Defendants agree that Plaintiffs may

15   file the documents at issue with the agreed redactions.

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       To the extent that the Court does not believe that the motions in limine are moot, or intends to rely on any
23   declaration or document filed with them in connection with the Court’s forthcoming summary judgment ruling,
     Defendants would also agree that Plaintiffs may file the documents at issue with the agreed redactions.
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       Rather than file more documents on the docket, Defendants will provide the agreed redactions at this Court’s
     request.
     DEFENDANTS’ NOTICE OF WITHDRAWAL OF MOTIONS IN                                   UNITED STATES ATTORNEY
     LIMINE AND RESPONSE TO MOTION TO SEAL DOCUMENTS                                 700 STEWART STREET, SUITE 5220
     (3:18-cv-05860-JLR) – 3                                                           SEATTLE, WASHINGTON 98101
                                                                                             (206) 553-7970
            Case 3:18-cv-05860-JLR Document 193 Filed 01/16/24 Page 4 of 4




 1   DATED this 16th day of January, 2024.

 2
                                             TESSA M. GORMAN
 3                                           United States Attorney

 4                                           s/Katie D. Fairchild
                                             KATIE D. FAIRCHILD, WSBA #47712
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 9                                           Attorneys for Defendants
10                                           I certify that this memorandum contains 815 words,
                                             in compliance with the Local Rules.
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     DEFENDANTS’ NOTICE OF WITHDRAWAL OF MOTIONS IN                UNITED STATES ATTORNEY
     LIMINE AND RESPONSE TO MOTION TO SEAL DOCUMENTS              700 STEWART STREET, SUITE 5220
     (3:18-cv-05860-JLR) – 4                                        SEATTLE, WASHINGTON 98101
                                                                          (206) 553-7970
